         Case 1:00-cv-00512-MBH Document 179 Filed 11/15/13 Page 1 of 1



       In the United States Court of Federal Claims
                                           No. 00-512L

                                   (Filed: November 15, 2013)
                                           _________

 PETRO-HUNT, L.L.C.,

                          Plaintiff,

         v.

 THE UNITED STATES,

                        Defendant.
                                            _________

                                             ORDER
                                            __________

     A telephonic oral argument on motion to compel will be held in this case on Thursday,
December 5, 2013, at 2:00 p.m. (EST). Argument will be limited to one-half hour per side.
Chambers will contact the parties shortly before the scheduled conference time.

        The argument will focus primarily on the question whether defendant has waived the
privilege(s) allegedly associated with one or more of the documents in question. The parties
shall be prepared, in particular, to discuss: (i) whether waivers, in respect to the United States,
occur on an agency-by-agency basis (as defendant has argued); and (ii) the specific subject-
matter relationship between the documents that have already been released by defendant and
those that are the subject of the motion to compel.

       IT IS SO ORDERED.



                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
